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                            UNITED STATES DISTRICT COURT


                               DISTRICT OF SOUTH DAKOTA


                                    NORTHERN DIVISION



 UNITED STATES OF AMERICA,                                        1:23-CR-10037-RAL


                       Plaintiff,
                                                        OPINION AND ORDER ADOPTING
                                                    REPORT AND RECOMMENDATION AND
        vs.                                             DENYING MOTION TO SUPPRESS


 ANTHONY THOMAS LEE BAKER,

                       Defendant.




        Defendant Anthony Thomas Lee Baker ("Baker") moves to suppress evidence seized

during a January 2023 traffic stop. Magistrate Judge Mark A. Moreno conducted a hearing and

recommended denial of Baker's motion. For reasons explained below, this Court adopts the

Report and Recommendation and denies Baker's Motion to Suppress.

   I.      Facts


        The underlying traffic stop occurred around 9:00 p.m. on January 17, 2023. Suppression

hearing transcript ("ST") at 7. Corporal Austin Nelson ("Nelson") of the Watertown Police

Department was just over three hours into a twelve-hour shift. Id. at 7, 45. While patrolling

Watertown's residential streets, he pulled onto 5th Avenue behind a black Chevrolet Silverado

driven by Defendant Baker. Id at 8. Unable to see any registration sticker on Baker's rear license

plate. Nelson activated his emergency lights and initiated a traffic stop. Id Baker did not
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immediately pull over, Ex. 1 at Dash Cam,^ but rather kept driving westbound for a bloek and a

half before stopping. ST at 9.

        Onee Baker pulled over,Nelson exited his patrol car and approached the truck on foot. Ex.

1 at 00:01:05. As he neared the rear ofthe pickup, he noticed that the registration sticker was not

missing but was almost entirely covered with snow. ST at 8, 24. Even at close range. Nelson

could make out no more than the very edge of the sticker. Id. at 24. Nelson contacted Baker at

the front driver's side window. Ex. 1 at 00:01:12. Nelson explained to Baker the reason for the

stop: the registration sticker on Baker's rear license plate was covered with snow which obstructed

law enforcement's ability to read it. Id at 00:01:26. He then asked Baker for his license,

registration, and proof of insurance. Id at 00:01:31. Baker failed to provide all the requested

documents. S^id at 00:01:31-00:02:12. He told Nelson that he was driving his boss's truck and

did not know where to find the proof ofinsurance. Id at 00:01:38. Upon reaching for his wallet.

Baker let fly a string of expletives, remarking that he must have "grabbed the wrong wallet" after

his boss gave him a credit card to fill the truck with gas. Id at 00:01:50. From this wrong wallet,

however. Baker produced his tribal identification card, which Nelson took in lieu of a driver's

license, noting that it was at least some form of identification. Id at 00:02:02. When asked if he

had a driver's license. Baker said his Minnesota driver's license was in his other wallet. Id at

00:02:05-00:02:12.


        Nelson next asked Baker why he did not stop right away. Id at 00:02:18. Baker pointed

to an electrical module mounted on the dashboard while explaining that he "was trying, to like

stop and this thing right here is something,I don't know but it." Id at 00:02:20. Nelson responded



^ Exhibit 1 contains both dash and body camera video footage. For simplicity, this Court will cite
the body camera footage as "Ex. 1 at (timestamp)" and the dash camera video as "Ex. 1 at Dash
Cam."
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that the module Baker was referring to is an assist for pulling trailers. Baker replied, "Yeah. I

can't escape. I was like, okay, so." Id at 00:02:30.

       About three minutes into the stop. Nelson asked Baker to join him in his police car so he

could get the information needed to verify Baker's license and registration. Id at 00:03:05. Baker

hesitated in response, asking "is that necessary?" Id at 00:03:10. When Nelson insisted that it

was necessary. Baker replied, "Okay. Sh*t. Um, alright." Id at 00:03:15. While exiting the

truck. Baker reached his arm down toward the floor or the pocket at the bottom of the driver's

door. Id at 00:03:20-00:03:30. As they walked toward the police car. Nelson instructed Baker to

keep his hands out of his pockets. Id at 00:03:36. Once Baker arrived at the front passenger door

of the police cruiser, he again hesitated. Id at 00:03:40. He paused and turned his body, so he

was facing away from the car. Id Nelson directed Baker to open the door and get in. Id at

00:03:46. Even then Baker did not get fully into the car. Id at 00:03:50. Rather, he sat halfway

on the seat with his right leg hanging out the open passenger door. Id Nelson then instructed

Baker to put both legs in the car and close the door. Id at 00:04:05.

       Once in the car, Nelson began obtaining Baker's personal information for the NCIC search.

ST at 13; Ex. 1 at 00:04:10. Nelson first asked Baker if he still resided on 3rd Avenue. Ex. 1 at

00:04:41. Baker first responded,"Yep," but soon corrected himself, stating that he lived with his

boss but did not know that address. Id at 00:04:52. Then, after confirming his phone number and

without any obvious impetus. Baker blurted, "Fu*k. Sh*t." Id at 00:05:13-00:05:16. When

Nelson asked about the expletives, Baker stated,"Nothing. I was supposed to get a call from him

because he's, you know,he slipped and fell yesterday and he had, you know,ambulance^ and stuff


^ Both the transcript for the body camera footage and Nelson's testimony at the suppression hearing
refer to Baker's reference to an ambulance as a"handgun." However,based on this Court's review
of exhibit 1, Baker clearly says "ambulance."
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come. Then he keeps calling on me just in ease." Id at 00:05:20-00:05:30. Nelson then asked

who Baker's boss was. Id at 00:06:05. Baker said it is "Ray, last name starts with an N." Id at

00:06:07. Nelson further inquired,"you're living with him, and you don't even know his name?"

Id at 00:06:10. Baker replied that"a Mend just, you know, put[him] up there." Id at 00:06:13.

       About seven minutes into the traffic stop, a second police officer arrived on scene. Id at

00:03:36. Nelson stepped out of his car and asked the officer to search the area around the

passenger side of his poliee car; Nelson explained that Baker paused for an appreciable amount of

time before getting into the ear, and he suspected that Baker ditehed something under the ear or in

the snowbank alongside the car. Id at 00:06:40-00:07:00. Within mere moments of searching

the snowbank directly next to where Baker sat, the offieer found an unlabeled bottle full of pills.

Id at 00:07:05. Upon receiving this information. Nelson informed Baker that he was being

detained. Id at 00:07:30-00:07:45. Baker denied any assoeiation with the pill bottle; he elaimed

not to have thrown them and stated,"Like, when you pulled in,I looked over and Ijust seen that."

Id at 00:07:50. Nelson handcuffed Baker, plaeed him in the back ofthe patrol ear, and informed

him that he would be detained until they figured out whether the pills were his. Id at 00:08:00.

       After plaeing Baker in the back seat of his patrol ear. Nelson asked him if there were any

other items he should know about. ST at 18. Baker admitted that there was marijuana in the center

console and a firearm in the vehicle on the front seat underneath his eoat. Id Baker also told

Nelson that he had a felony conviction. Id

       Meanwhile, Nelson had dispateh run Baker's license out of Minnesota. Id at 19. The

results showed that Baker's driver's license had been revoked; he also had a no bond arrest warrant

out of Roberts County for being a felon in possession of a firearm and possession of a controlled

substanee. Id. Nelson testified that he would have arrested Baker based on the warrant alone. Id
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          A subsequent search ofthe vehicle revealed a .45 caliber pistol on the front passenger seat

 hidden underneath a coat,just as Baker described. Id at 20. Inside the driver's side door pocket,

the officers found what they described as a "drug kit," a black bag containing a butane torch, a

glass methamphetamine pipe, a snort tube, a plastic straw, and a clear plastic baggie with three

pills. Id A search ofthe center console revealed another methamphetamine pipe and a straw snort

tube, all inside a sunglasses case. Id

          A grand jury indicted Baker for possession of a firearm by a prohibited person. Doc. 1.

Baker moved to suppress evidence that law enforcement seized during the January 17,2023 traffic

stop. Doc. 18. After holding an evidentiary hearing, Magistrate Judge Moreno entered a Report

and Recommendation for Disposition of the Motion to Suppress recommending denial of the

motion in all respects. Docs. 34,35. Baker objected to the report and recommendation.          Doc.

42. Baker makes two arguments for why this Court should suppress the evidence obtained from

Nelson's January 17,2023 traffic stop:(1)the traffic stop was notjustified at its inception and (2)

Nelson prolonged the stop beyond the time reasonably needed to dispel his suspicions that a traffic

violation had occurred. See Docs. 19,42. This Court addresses each argument below.

    II.      Legal Standards

          When a party objects to a magistrate judge's report and recommendation, a district court

judge must "make a de novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made." 28 U.S.C. § 636(b)(1). The district

court "judge may accept, reject, or modify, in whole or in part, the findings or recommendations

made by the magistrate judge." Id.

          "The Fourth Amendment protects against unreasonable searches and seizures." United

States V. Betts. 88 F.4th 769, 773 (8th Cir. 2023)(cleaned up)(quoting U.S. Const, amend. IV).
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 A traffic stop is a type of"seizure" under the Fourth Amendment. United States v. Gordon. 741

F.3d 872, 876(8th Cir. 2013). To be reasonable at its inception, a traffic stop must be "supported

 by either probable cause" or reasonable, articulable "suspicion that a traffic violation has

occurred." United States v. Rederick. 65 F.4tb 961, 965 (8tb Cir. 2023)(cleaned up and citation

omitted). "Probable cause exists -when a reasonable officer, confronted with the facts known to

the officer at the time of the stop, could have believed that there was a fair probability that a

violation oflaw had occurred." Id (cleaned up and citation omitted). Probable cause for a traffic

stop exists "as long as an officer objectively has a reasonable basis for believing that the driver has

breached a traffic law." Gordon. 741 F.3d at 876 (cleaned up)(quoting United States v. Conev.

456 F.3d 850, 856 (8th Cir. 2006)). "Reasonable suspicion exists when an officer is aware of

particularized, objective facts which, taken together with rational inferences from those facts,

reasonably warrant suspicion that a crime is being committed." Id (cleaned up and citation

omitted).

       The relevant question when reviewing a traffic stop is whether it was objectively

reasonable for the officer to believe that a traffic violation had been committed, not whether a

traffic violation actually occurred.     United States v. Hastings. 685 F.3d 724, 727-28 (8th Cir.

2012) (explaining that it was urmecessary to determine whether the defendant had actually

committed a traffic violation because it was objectively reasonable for the officer to believe that

the defendant has done so). The Fourth Amendment requires that police officers be reasonable,

not perfect. Helen v. North Carolina. 574 U.S. 54, 60-61 (2014). Thus, a traffic stop may be

based on an officer's mistake of fact or law, so long as the mistake is objectively reasonable. Id

at 60-67. An officer's subjective motivation for conducting a traffic stop is irrelevant. Rederick.

65 F.4th at 965 (citing Whren v. United States. 517 U.S. 806, 813 (1996)).
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    III.    Discussion


    A. Existence ofProbable Cause to Stop Baker's Vehicle

        Nelson testified that he initiated the traffic stop because he could not identify a valid

registration sticker on Baker's rear license plate. Under South Dakota law, all drivers must have

a front and rear license plate that "shall at all times, as far as is reasonably possible, be kept clear

and free of mud,ice, or snow so as to be clearly visible." SDCL § 32-5-98. The license plate must

also display the proper vehicle registration sticker; failing to do so is a class 2 misdemeanor.

SDCL § 32-5-2.4. A reasonable officer could interpret South Dakota law as requiring drivers to

keep their license plate and registration sticker free from obstruction and clearly visible when

reasonably possible. See State v. Vento.604 N.W.2d 468,471 (S.D. 1999)(quoting United States

V. Dumas. 94 F.3d 286, 290 (7th Cir. 1996), for the axiom that a driver's "failure to display

prominently a registration sticker, alone, would provide an officer with reasonable suspicion

sufficient to justify at the very least an investigatory stop"); United States v. Farlee. 427 F. Supp.

3d 1123,1126-27(D.S.D. 2019); United States v. Ouiiano. No. CR.05-40106,2005 WL 2704902,

at *5 (D.S.D. Oct. 20, 2005)(determining that a license plate holder obstructing the registration

sticker provided reasonable suspicion to conduct traffic stop under South Dakota's statutes

regulating lieense plates);^ United States v. Gilson. 654 F. App'x 247, 248 (8th Cir. 2016)

(unpublished)(per curiam)(holding that a registration sticker that was "almost three-quarters"

obstructed provided law enforcement probable cause to conduct a traffic stop under an Iowa law).^



^ Courts in other jurisdictions have reached similar conclusions. See generallv United States v.
Truiillo. No.23-er-00748,2023 WL 8258597,*2-3(D.New Mexico,Nov.29,2023)(recognizing
that traffic stops for obstructed vehiele registration stickers are reasonable under the Fourth
Amendment and finding that a traffie stop was lawful based on a vanity plate partially obstructing
a registration stieker); United States v. James. 22-10093, 2023 WL 5206045, at *8(D. Kan. Aug.
14, 2023)(recognizing that even "slight obstruetions" of a registration sticker ean justify a traffic
stop); United States v. Richardson. 801 F. App'x 157, 158 (4th Cir. 2020) (per curiam)
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        Baker does not dispute that an obstrueted registration stieker provides probable cause, or

 at least reasonable suspicion, to conduct a traffic stop if it was reasonably possible for the driver

to keep the registration sticker free from foreign material to be clearly visible. Rather,Baker posits

that the weather on January 17,2023, did not make it "reasonably possible" to keep the plate free

from snow, and therefore. Nelson was notjustified in making the stop. Doc. 19 at 2-5. Nelson's

testimony, which was credible and unrefuted, undermines Baker's argument. According to

Nelson, it had snowed on January 17, 2023, but the snow stopped around noon, more than nine

 hours before the traffic stop occurred. ST at 7. Nelson explained that it would be both

unreasonable and against Watertown Police Department policy to conduct traffic stops for snow

covered license plates while it was actively snowing. ST at 25. Nelson, however, believed that

by nine hours after a snow fall, drivers had sufficient time to clear snow off their car before taking

to the roadways. ST at 26. Nelson's interpretation of"as far as reasonably possible" language

within SDCL § 32-5-98 is sufficiently reasonable to support ajustifiable beliefthat Baker violated

a traffic law. S^ Rederiek. 65 F.4 at 965; Gordon. 741 F.3d at 876.

         What is "reasonably possible" under a statute like SDCL § 32-5-98, like probable cause

itself, involves an objective inquiry dependent on the totality ofcircumstances present in each case.




(unpublished)(noting how, even absent state law, "a vehicle's apparent failure to display some
form of visible license plate/registration tag, temporary or permanent, gives rise to a reasonable
suspicion that its driver might be violating any one of a multitude of applicable traffic and
equipment regulations" (citation omitted)); United States v. Muhammad. No. 19-er-0168, 2019
WL 7593270, *5 (D. Minn. Dec. 20, 2019), adopted in. 2020 WL 247324 (snow covering the
registration sticker on a rear license plate provided an independent basis of probable cause to
conduct a traffic stop); United States v. Orduna-Martinez. 561 F.3d 1134, 1138 (10th Cir. 2009)
(recognizing that state law prohibits obstruction of registration decals and serves as a basis for a
traffic stop); United States v. Henrv. 853 F.3d 754, 757-58 (5th Cir. 2017)(holding that officer's
belief that obstructed registration stieker violated a Louisiana statute that read "every permanent
registration license plate shall be maintained free from foreign materials and in a condition to be
clearly legible" was objectively reasonable and supported by reasonable suspicion (cleaned up)).
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 The circumstances here suggest that it was reasonably possible for Baker to have cleared the snow

 off his license plate to ensure it was entirely visible. Baker told Nelson that he was living in

 Watertown and was driving home after helping a friend install a porch light when he got pulled

 over. Ex. 1 at 00:03:00; 00:04:38. Unless that friend lived more than nine hours away and the gas

 tank could sustain such lengthy travel without stopping to refill, Baker would have exited and

 entered his ear at least once within the nine hours since it last snowed. Baker could have walked


 around his truck to see if snow or ice obscured parts of his license plates before driving home.

         Baker counters that the snow-covered roads did not make it reasonably possible to keep

the license plate clear because the truck's tires could fling snow onto the truck's bumper to obstruct

the license plate. Doc.42 at 4. The evidence does not support Baker's hypothesis. First, Nelson's

 dash cam footage does not show the tires of Baker's truck dislodging any appreciable amoimt of

snow,let alone enough to accumulate in the middle ofthe truck's bumper and obstruct the license

plate.      Ex. 1 at Dash Cam. Second,the video shows the road clearly alternating between hard

packed snow and tire tracks rutted down to pavement, not conditions where snow is being blown

about or near bumper level. Id.

         Lastly, Baker argues that the stop was unjustified because Nelson should have taken some

alternative action before conducting the traffic stop, like calling in his license plate number to

verify the registration or observing the registration on the front license plate. Doc. 42 at 5. These

arguments gloss over the underlying justification for the stop—^the obstructed registration sticker

on the rear license plate in violation of SDCL § 32-5-98. Even if Baker's truck were validly

registered, the obstructed sticker constituted a minor traffic violation. And any traffic violation—

no matter how minor—^provides reason to conduct a traffic stop. United States v. Rutledge. 61

F.4th 597,601 (8th Cir. 2023). Thus, the traffic stop was justified at its inception.
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    B. Whether the Traffic Stop was Unreasonably Prolonged

        Baker next argues that the stop was unconstitutional because Nelson's actions prolonged

 the stop beyond the time reasonably necessary to complete its mission. "A traffic stop supported

 by probable cause or reasonable suspicion may nonetheless violate the Fourth Amendment if it

 lasts longer than necessary to effectuate" the mission ofthe stop. United States v. Navarette. 996

 F.3d 870, 874 (8th Cir. 2021); Rodriguez v. United States. 575 U.S. 348, 354 (2015)("[T]he

 tolerable duration of police inquiries in the traffic-stop context is determined by the seizure's

 'mission.'"). For support. Baker draws on three cases from the Supreme Court of South Dakota

 for the principle that an officer unreasonably prolongs a traffic stop ifthey observe facts that would

 dispel their suspicion that a traffic violation had occurred and take any action beyond explaining

 why they initially made the stop. See State v. Haven. 751 N.W.2d 306, 307-08(S.D. 2008); State

 V. Bonacker. 825 N.W.2d 916 (S.D. 2013); and State v. Amick. 831 N.W.2d 59 (S.D. 2013).

 Relying on these cases. Baker argues that Nelson should have either (1) run the license plate

 number to verify the vehicle's registration before initiating the stop,(2) brushed the snow away

 from the sticker to verify its validity, or(3) verified the registration by looking at the front license

 plate. Doc.42 at 6-8. By completing any one ofthese three altematives. Baker argues that Nelson

 could have unobtrusively discharged the justification for the stop and thus terminated the stop's

 mission.



         Baker's argument, however, is misplaced for several reasons. First, the stop was not

 limited to verifying Baker's registration. As earlier explained. Nelson had a reasonable beliefthat

 an obstructed registration tag was itself a traffic violation. For that reason, the facts here are

 materially distinguishable from the eases in which Baker seeks refuge. In each of those three

 cases, the officer conducted a traffic stop on the suspicion that a traffic violation had been


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 committed. When the officers discovered that no violation had in faet occurred, the justification

 for the stop had dissipated, and there was no further suspicion of ongoing unlawful activity. Cf.

 Amick.831 N.W.2d 59(S.D.2013)(declining to suppress evidence because officer observed open

 beer bottle in the pickup as he approached the driver). Here, however. Nelson had a reasonable

 belief that the obstructed license plate tag itself justified a traffic citation. Therefore, even if

 Nelson managed to confirm that Baker's registration was valid, the stop's mission was not

 concluded until Nelson had issued either a warning or ticket, or the time to reasonably do so had

 passed. See Rodriguez. 575 U.S. at 354.

        Baker's position also ignores additional reasons for Nelson to prolong the stop. Baker not

 only failed to promptly stop, but he also failed to produce a vehiele registration or driver's lieense

 when asked. SDCL § 32-5-91 eoneeming vehicle registration provides,"The registration referred

 to in § 32-5-90 is subject to inspection by any peace officer at any time. The registration shall, at

 all times, while the motor vehicle ... is being operated within this state, be in possession of the

 operator.'"* In State v. Ramirez. 535 N.W.2d 847, 849 (S.D. 1995), the South Dakota Supreme

 Court determined that "[l]aw enforcement offieers are entitled to diligently investigate to verify a

 vehicle's registration." And the "[fjailure to possess a valid registration is a petty offense,"

 entitling offieers to detain a driver for the time neeessary "to diligently investigate [and] verify a

 vehicle's registration." Ramirez. 535 N.W.2d at 849; see also SDCL § 23-1A-7. Because Nelson

 was justified in conducting the traffic stop, he was allowed to verify that Baker, as operator ofthe



 '* SDCL § 32-5-90 states, "The department shall furnish . .. with each pair of number plates or
 number stickers for passenger vehieles,...a registration, which shall contain the following data:
 the name ofthe registered owner ofthe ... motor vehicle ... the owner's post office address, the
 make of the vehicle, the year of model, the model or letter designated by the manufacturer,
 manufacturer's serial number, if any, the registration or license number, and date of issue of the
 registration. The registration shall contain the registration number denoted on the number plate or
 plates on which the registration is issued." (Emphasis added).
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 vehicle, possessed valid registration,^ proof of insurance or financial responsibility, and a valid

 driver's license.      Rodriguez. 575 U.S. at 349 ("These checks serve the same objective as

 enforcement of the traffic code: ensuring that vehicles on the road are operated safely and

 responsibly."). Baker's failure to produce his license and registration provided additional reasons

 to prolong the stop.

        Finally, Baker's cases are not binding on this Court. A federal court is not restrained by a

 state court's interpretation of federal law. See, e.g.. United States v. Bedford. 519 F.2d 650,654

 n.3(3rd Cir. 1975).® And all three cases predate the Supreme Court ofthe United States' decision

 in Rodriguez. 575 U.S. at 354, which described the mission of a traffic stop as "addressing the

 traffic violation that warranted the stop and attending to related safety concerns." Id (cleaned up

 and internal citation omitted). "Beyond determining whether to issue a traffic ticket, an officer's

 mission [involves] 'ordinary inquiries incident to [the traffic stop],"' including "checking the

 driver's license, determining whether there are warrants outstanding against the driver, and

 inspecting the automobile's registration and proof of insurance." Id at 355 (second alteration in

 original); Navarette. 996 F.3d at 874 (citation omitted). "When complications arise carrying out

 these tasks,'police may reasonably detain a driver for a longer duration than when a stop is strictly

 routine.'" Navarette. 996 F.3d at 874 (quoting United States v. Olivera-Mendez. 484 F.3d 505,



 ® This Court also notes that sometimes the operator's proof of registration under SDCL §§ 32-5-
 90 and 32-5-91 becomes necessary because records may suggest that a vehicle with proper
 registration stickers does not have valid registration. State v. Muller. 698 N.W.2d 285 (S.D.
 2005).
 ® "It is a recognized principle that a federal court is not bound by a state court's interpretation of
 federal laws or of a state statute under misapprehension of federal law. Furthermore, a state court
 may not impose greater restrictions, as a matter of federal constitutional law, on police activity
 with respect to search and seizures than the United States Supreme Court holds to be necessary,
 although it may interpret a feature of state constitutional law more restrictively than the Supreme
 Court has interpreted an equivalent provision of the Federal Constitution. Oregon v. Hass. 420
 U.S. 714(1975)." Bedford. 519 F.2d at 654.
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 510(8th Cir. 2007)). Otherwise,"[ajuthority for the seizure ... ends when tasks tied to the traffic

 infraction are—or reasonably should have been—completed." Rodriguez. 575 U.S. at 354.

 Nelson's actions fall plainly within the scope of inquiry that Rodriguez permits. Nelson did not

 prolong the traffic stop by checking to ensure that Baker had a valid driver's license(which he did

 not), by asking for proof of insurance (which he could not provide), or by requesting the

 registration card as authorized in SDCL § 32-5-91 (which Baker also did not provide).

     C. Attenuation Doctrine Application

        Even if Baker were right about some unconstitutional police action here, the attenuation

 doctrine, as explained in Magistrate Judge Moreno's Report and Recommendation, allows for

 admission ofthe evidence from the traffic stop. Doc.35 at 11-12. The attenuation doctrine applies

 as an exception to the exclusionary rule "when the connection between unconstitutional police

 conduct and the evidence [obtained] is remote or has been interrupted by some intervening

 cireumstance." United States v. Lowrv. 935 F.3d 638, 642 (8th Cir. 2019)(internal quotation

 marks omitted). To determine whether the attenuation doctrine applies to any particular case,

 courts must apply a three-part test: (1) "the temporal proximity between the unconstitutional

 conduct and the discovery of evidence,"(2)"the presence of intervening circumstances," and (3)

 "the purpose and flagraney ofthe official misconduct." Id

        The tight temporal proximity between Nelson's stop of Baker, the expansion of the stop

 and the discovery of the .45 caliber pistol, drugs, and drug paraphernalia favors suppression if

 there were anything unconstitutional about the stop. Even so, the other two factors do not. The

 discovery of a valid warrant that predates and is "entirely uncoimected with the stop" is a

 "sufficient intervening circumstance to allow the admission ofevidence." Utah v. Strieff. 579 U.S.

 232, 240^1 (2016). Here, like in Strieff. Nelson discovered a warrant for Baker's arrest. This


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 warrant was a "judicial mandate to . .. make an arrest, and the officer has a sworn duty to carry
 out its provisions." Id.(citation omitted). There also was no purposeful or flagrant misconduct to

 deter here. Id, at 241. At worst, Nelson made a reasonable, good-faith mistake as to whether it

 was "reasonably possible" for Baker to keep his license plate free from snow. That is not the type
 of conduct the exclusionary rule was meant to deter. See       (citing Davis v. United States. 564

 U.S. 229, 236-37 (2011)). After applying these factors, this Court finds that the attenuation

 doctrine reinforces that the evidence discovered is admissible because any arguably
 unconstitutional conduct stemmed from a reasonable, good-faith mistake, and the preexisting
 arrest warrant was a "sufficient intervening circumstance." Id at 240,242.

    IV.     Conclusion

 For the aforementioned reasons, it is hereby

    ORDERED that Defendant Anthony Thomas Lee Baker's objections to the Report and
 Recommendation, Doc. 42,are overruled, and the January 11,2024 Report and Recommendation,

 Doc. 34, as explained on the record. Doc. 35,is adopted. It is further

    ORDERED that Defendant Anthony Thomas Lee Baker's Motion to Suppress, Doc. 18, is

 denied.

        DATED this 93^ day of February,2024.
                                                BY THE COURT:




                                                ROBERTO A. LANGE
                                                CHIEF JUDGE




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